 Case 1:06-cr-00005-SPM-AK        Document 100      Filed 04/30/07   Page 1 of 2




                                                                         Page 1 of 2


                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,

v.                                              CASE NO.: 1:06-CR-005-SPM

CAROLINE PARRA,

     Defendant.
________________________________/

           ORDER MOOTING MOTION FOR EXTENSION OF TIME
                   FOR VOLUNTARY SURRENDER

      THIS CAUSE comes before the Court upon the “Defendant’s Motion to

Extend Voluntary Surrender Date” (doc. 99) filed April 18, 2007. As grounds,

Defendant avers that the Bureau of Prisons will be unable to complete her

designation by May 2, 2007, her currently-scheduled surrender date. However,

the Court has been informed that Defendant has already been designated to FCI

Marianna, thus rendering the motion moot. Although the Court is willing to grant

a short extension of time, Defendant has indicated her desire to proceed with the

original May 2 surrender date. Accordingly, it is

      ORDERED AND ADJUDGED as follows:

      1.     The motion to extend (doc. 99) is hereby denied as moot.
Case 1:06-cr-00005-SPM-AK    Document 100      Filed 04/30/07    Page 2 of 2




                                                                     Page 2 of 2


    2.    Defendant shall surrender as directed at sentencing.

    DONE AND ORDERED this thirtieth day of April, 2007.


                                s/ Stephan P. Mickle
                              Stephan P. Mickle
                              United States District Judge
